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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                                CASE NO.: 1:21-cv-22021-KMW

  LYNDSAY DRAVES,

         Plaintiff,
  v.

  TURBO POWER LLC, A/K/A
  TURBOPOWER, LLC,

         Defendant.
                                              /

                  DEFENDANT’S RESPONSE TO ORDER TO SHOW CAUSE

         Defendant, Turbo Power LLC (the “Defendant”), by and through counsel, responds to the

  Court’s Order to Show Cause (ECF No. 18) as follows:

         1.      Mediation was originally scheduled for January 27, 2022 (ECF No. 16).

         2.      Due to a conflict in the mediator’s schedule, the Parties agreed to reschedule

  mediation to February 17, 2022. See Mediation Correspondence attached as Exhibit 1.

         3.      It appears that the mediator either inadvertently failed to file an amended notice of

  mediation or may have mistakenly believed one of the Parties would do so.

         4.      However, as of the date of this response, the Parties are confirmed for mediation

  on February 17, 2022 and they fully intend to comply with the Court’s requirements regarding

  notification of the outcome of mediation.

         5.      Defendant apologizes for the oversight and requests that sanctions not be imposed.

         WHEREFORE, the Defendant respectfully requests that the Court find Defendant has

  shown cause for its failure to file an Amended Notice of Mediation, discharge the Show Cause

  Order (ECF No. 18).
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on February 11,

  2022 on all counsel of record via transmission of Notices of Electronic Filing generated by

  CM/ECF.


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